
FRUGÉ, Judge.
For reasons given in the consolidated case of Michigan Pipe Line Company v. Frugé, 210 So.2d 375 (La.App. 3d Cir., 1968), it is hereby ordered that this case be remanded to the trial court for the limited purpose of joining Vorice Hebert as a party defendant to this suit. It is further ordered that upon the remand of this case, the trial judge shall receive pleadings and evidence for the purpose of determining what if any, damages Mr. Hebert has sus*379tained to his irrigation system as a result of the expropriation and that the case be resubmitted to this court on briefs as soon as the determination of the above matter is made, so that we may determine the merits of these appeals.
Reversed and remanded.
